Case 1:17-cv-24206-JEM Document 172 Entered on FLSD Docket 12/01/2020 Page 1 of 6



                              UNITED STATES DISTRICT CO URT
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                Plaintiffs,                       Case N o.17-24206-C IV- M A RT IN EZ-
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  GEBR AN BA SSIL
  SALIM JREISSATi,
  D AN Y M A CA RON ,
  ZIA D M EKA N N A ,
  PETER GERM AN O S,
  M A JED B OU EZ ,
  A H M A D SA SSIN E ,
  M ON A BA CH M AN SO U R,
  A LEX AN DER G EO RGE M A N SOU R,and
  ROLLY GEORGE M AN SOUR,




        RESPON SE TO PLAINTIFF'S SUPPLEM ENTA L CO M PLAINT

        As required by the Courtin its October8th,2020 Order,1,Hon.Salim Jressati,hereby

 providethisresponse to the Supplem entalCom plaintto the Courtand theotherpartiesin thiscase:

        Through the filing ofthisresponse,ldo notconcede thatservice ofprocesswaseffected

 properly on m ein thiscase.Ifurtherreserve al1defensesavailableto meand moveto dism issthe

 SupplementalComplaintbasedon,butnotlimitedto,sovereign immunity,lackofsubjectmatter
 andpersonaljurisdiction,andimproperserviceofprocess.
        lrefertoandrelyontheextensivebriefingsregardingsubjectmatterjurisdiction,personal
 jurisdiction,and sovereignimmunitypreviouslyfiledinthiscaseonmybehalf,includingbutnot
 lim ited to:
Case 1:17-cv-24206-JEM Document 172 Entered on FLSD Docket 12/01/2020 Page 2 of 6



    * TheSiLebanese Governm çntDefendants'Responsein Opposition to PlaintiffsM otion for

       Relief from Judgm qny or orttçy Pm suant t: Fed.R.Civ.P.6Q'' dated July 17,2019
                                -




       (argumentsregardingpersonaljurisdiction,sovereignimmunity,andinternationalcomity).
    * The çlM otion for StatusConference''dated August5,2019 (DocumentNumber 101)
       (argumentsregarding personaljurisdiction,subjectmatterjurisdiction,immunity,and
       internationalcomity),and the ûkReply in Supportofthe M otion forStatusConference''
       dated A ugust21,2019.

    @ The 'Vl-ebanese Government Defendants' Obiections to Renortand Recom mendation''

        dated January 22s2020 (DocumentNumber 134)(argumentsregarding subjectmatter
        '
       Jurisdiction).
    Additionally,becauseofthesovereign immunity defensesIhaveclaim ed in thiscase,adefault

 should not be ordered w ithouttaking additionalsteps.A default in these cases m ust be treated

 differently from an ordinary default.Com nania lnteram ericana v.Com nania D om iniçanq,88 F.3d

 948,951(11thCir.1996).
        Form ostofthetime period involved in thePlaintiff'stirstcomplaint,1served asM inister

 ofJusticeoftheRepublicofLebanon.Assuch,itisimportantform eto clarify that,in compliance

 with theLebanese law,despite Plaintiffsallegations,theM inisterofJustice doesnotinterferein

 theexerciseofthejudicialfunction,anddoesnothaveanycontrolovermagistratesintheexereise
 Oftheirfunctionsby virtue oftheprinciplesofthe separation ofpowersand the independence of

 thejudiciary.On31January20191wasnamed StateM inisterforPresidentialAffairs,andassuch
 Ihad notany businessorrelation orconnectionswhatsoeverwith the M inistry ofJustice.As a

 result, for the tim e period involved in the new allegations in Plaintiff's Supplem ental

 Com plaint,i-e-,A pril2019,I w as notthe M inister ofJustice in office.
Case 1:17-cv-24206-JEM Document 172 Entered on FLSD Docket 12/01/2020 Page 3 of 6



                                     CONCLUSION

        Forthesereasons,1respectfullyrequestthattheCourtrejecttheSupplementalComplaint
 broughtagainstme and thusrem ove me from thiscase.Ialso respectfully requestthatthe Court

 stay the case so thatallthe new defendants,w ho are necessary to addressing Plaintiff'sallegations

 in the Supplem entalCom plaint,can be duly served asitis notfairto proceed before that.




 N ovem ber5,2020                                                              e'.
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Case 1:17-cv-24206-JEM Document 172 Entered on FLSD Docket 12/01/2020 Page 4 of 6



                               CERTIFICATE O F SERYICE
       lHEREBY CERTIFY thaton Novem ber5,2020,Ifiled the foregoingdocumentwith the

 Clerk ofCourtby m ail.lfurthereertify thatthe foregoing isbeing served thisday upon allcounsel

 ofrecord and unrepresented partiesvia emailand/orm ailto the addresses listed in the attached

 Service List.                                                               .. *

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                                             Hon.salim Jressu
Case 1:17-cv-24206-JEM Document 172 Entered on FLSD Docket 12/01/2020 Page 5 of 6



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T HE C ASTANEDA L AW FIRM PLLC           COVINGTON & BURLING LLP
Rebecca L.Castaneda                      Andrew E.Siegel
FloridaBarNo.1007926                     One Citycenter
506 N .Arm enia Avenue                   850 Tenth Street,N W
Tam pa,FL 33609-1703                     W ashington,D .C.20001
Te1:(813)694-7780                        Te1:(202)662-6000
rc@ attorneyrebeccacastaneda.com         asiegel@cov.com
Counsel.forthePlainti
                    jh                    CounselforthePlaintfp
H on.GEBR AN BA SSIL                      Hon.PETER G ERM AN O S,



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Courthouse
Second Floor
Baabda,Lebanon


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